
37 So.3d 991 (2010)
Karen WHITEHEAD, Charles V. Van Deusen, Erna Yockl, Mareanne Ajyer, Redon Ajyer, William Lanagan and Anna Chandler, Appellants,
v.
The CITY OF DELRAY BEACH, Linda Marks and James Marks, Husband and Wife, Bridgett Marks, Rachel Marks, Crystal Marks, Angel Marks, Jack Mackler and Samuel Grossman, Appellees.
Nos. 4D08-3609, 4D08-3610, 4D08-3611, 4D08-3958, 4D08-4589.
District Court of Appeal of Florida, Fourth District.
July 7, 2010.
*992 Barry M. Silver, Boca Raton, for appellants.
Kara Berard Rockenbach of Methe &amp; Rockenbach, P.A., West Palm Beach, for appellee, The City of Delray Beach.
PER CURIAM.
Affirmed. See Montenero v. Marks, 992 So.2d 440 (Fla. 4th DCA 2008); Boys v. Marks, 992 So.2d 439 (Fla. 4th DCA 2008).
GROSS, C.J., WARNER, J., and FISHMAN, JANE D., Associate Judge, concur.
